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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

TEMUJIN KENSU,

                   Plaintiff,                          Civil Case No. 19-10616
                                                       Honorable Linda V. Parker
v.

CORIZON, INC., et al.

               Defendants.
________________________________/

                                SHOW CAUSE ORDER

      Plaintiff initiated this lawsuit on March 1, 2019. It appears that as of this

date, Plaintiff has failed to serve Randall Haas, Patricia Willard, and Penny

Rodgers with the summons and a copy of the Complaint.

      Rule 4(m) of the Federal Rules of Civil Procedure provide in relevant part:

      If a defendant is not served within 90 days after the complaint is filed,
      the court‒ on motion or on its own after notice to the plaintiff‒ must
      dismiss the action without prejudice against that defendant or order
      that service be made within a specified time. . . .

Fed. R. Civ. P. 4(m). The rule further provides, however, that “if the plaintiff

shows good cause for the failure, the court must extend the time for service for an

appropriate period.” Id.

      Accordingly, Plaintiff shall show cause in writing within seven (7) days of

this Order why the Complaint against Randall Haas, Patricia Willard, and Penny
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Rodgers should not be dismissed. Plaintiff’s failure to respond to this Order or to

establish good cause for failing to effectuate service will result in this Court

dismissing the Complaint against Randall Haas, Patricia Willard, and Penny

Rodgers pursuant to Rule 4(m).

      IT IS SO ORDERED.

                                               s/ Linda V. Parker
                                               LINDA V. PARKER
                                               U.S. DISTRICT JUDGE

Dated: October 27, 2020




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